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             EXHIBIT 2
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                                                                          Page 1
      IN THE UNITED STATES DISTRICT COURT
          FOR THE DISTRICT OF COLUMBIA
------------------------x
AFL-CIO, et al.,              :
            plaintiffs,       :
v.                            :   CASE NO.
DEPARTMENT OF LABOR,          :   1:25-cv-00339-JDB
et al.,                       :
            Defendant.        :
------------------------x




           30(b)(6) Deposition of DOGE
            Through KENDALL LINDEMANN
              Monday, April 7, 2025
                      9:33 a.m.




BEFORE: Cassandra E. Ellis, RMR, RDR, CRR,
RSA, CA-CSR 14448, WA-CCR, HI-CSR




Job no: 10515


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 1                 30 (b)(6) Deposition of DOGE
 2   through KENDALL LINDEMANN, taken before
 3   CASSANDRA E. ELLIS, Registered Professional
 4   Reporter, Registered Merit Reporter,
 5   Registered Diplomate Reporter, Certified
 6   Realtime Reporter, Realtime Systems
 7   Administrator; California Certified
 8   Shorthand Reporter; Washington State
 9   Certified Court Reporter; Hawaii Certified
10   Shorthand Reporter; Notary Public, held in
11   Washington, D.C., on Monday, April 7, 2025,
12   commencing at 9:33 a.m. and concluding at
13   2:16 p.m.
14
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                                                                              Page 3
 1                A P P E A R A N C E S
 2        ON BEHALF OF THE PLAINTIFFS:
               AMAN T GEORGE, ESQUIRE
 3             MARK B. SAMBURG, ESQUIRE
               DEMOCRACY FORWARD FOUNDATION
 4             P.O. Box 34553
               Washington, D.C. 20043
 5             (202) 448-9090
               Ageorge@democracyforward.com
 6             Msamburg@democracyforward.com
 7
 8        ON BEHALF OF THE PLAINTIFFS:
               ZOILA E. HINSON, PRO HAC VICE
 9             ALEXA MILTON, PRO HAC VICE
               RELMAN COLFAX PLLC
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               Suite 600
11             Washington, D.C. 20036
               (202) 728-1888
12             Zhinson@relmanlaw.com
               Amilton@relmanlaw.com
13
14        ON BEHALF OF THE DEFENDANT:
               BRADLEY P. HUMPHREYS, ESQUIRE
15             BENJAMIN S. KURLAND, ESQUIRE
               MARCIA BERMAN, ESQUIRE
16             US DEPARTMENT OF JUSTICE
               1100 L Street, Northwest
17             Washington, D.C. 20005
               (202) 305-0878
18             Bradley.humphreys@usdoj.gov
19
20   ALSO PRESENT:
          Austin Raynor, US DOGE SERVICE
21
22
23
24
25


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                                                                              Page 4
 1                  INDEX TO EXAMINATION
 2   30(b)(6) deposition of DOGE
 3   Through KENDALL LINDEMANN
 4   EXAMINATION                                       PAGE
 5        By Mr. George                                5
 6
 7                      INDEXED PAGES
 8                                                     PAGE
 9   KENDALL LINDEMANN, sworn                          5
10   REPORTER CERTIFICATE                              130
11   INSTRUCTIONS TO WITNESS (none)
12   DECLARATION UNDER PENALTY OF PERJURY              129
13   ERRATA SHEET                                      131
14
15                 INFORMATION REQUESTED
16                            None
17
18         WITNESS INSTRUCTED NOT TO ANSWER
19                                            PAGES
20                                      16, 22, 47, 121
21
22           INDEX TO PLAINTIFFS EXHIBITS
23                            NONE
24
25


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                                                                              Page 5
 1                P R O C E E D I N G S
 2             30(b)(6) deposition of DOGE
 3              Through KENDALL LINDEMANN
 4    having been sworn, testified as follows:
 5                       EXAMINATION
 6   BY MR. GEORGE:
 7         Q      It's great to meet you.
 8                I'm Aman.      So I'm just going to
 9    walk through quick preliminaries for how
10    to help us go smoothly.
11                So we'll want to ensure that
12    the court reporter is able to get a
13    really clean written record of our
14    conversation, so it may feel a little
15    unnatural, but if you could give
16    verbal responses to questions rather
17    than nodding or shaking your head,
18    which she can't write down, that would
19    be helpful.
20                And if we can try not to
21    speak over each other.        I'll try and
22    let you finish before I ask another
23    question, and it will great if you can
24    let me finish a question before you
25    start answering.


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                                                                               Page 6
 1                Your attorney may object to
 2    a question, and that's okay.            He's
 3    making an objection for the record,
 4    but unless he specifically says not to
 5    respond to a question, you should go
 6    ahead and answer.
 7                If you need to take a break,
 8    let me know, let us know, we'll
 9    periodically take some breaks, if we
10    do take a break please finish
11    answering whatever question we were
12    talking about, you can go ahead and
13    answer, and then we'll take a break.
14                If you don't understand a
15    question, let me know and I'll try and
16    rephrase it.
17                And if you don't ask me to
18    rephrase a question I assume that you
19    understand it in the way that I ask
20    it.
21                And then, last, if you do
22    answer a question and realize that
23    there was something you forgot say, we
24    can come back to it later.         Let me
25    know and we can come back and get a


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                                                                              Page 7
 1    more complete record on the answer to
 2    that question.
 3                So do you understand today
 4    that you will be testifying on behalf
 5    of the US DOGE Service and US DOGE
 6    Service temporary organization about
 7    the topics in the deposition notice?
 8         A      Yes.
 9         Q      All right.      And you understand
10    that you're testifying under penalty of
11    perjury?
12         A      Yes.
13         Q      Is there any reason that you
14    can't give complete and truthful
15    testimony today?
16         A      No.
17         Q      All right.      Can you tell me how
18    you prepared for the deposition?
19         A      Yes.    I worked with the US DOGE
20    Service lawyers and legal team, DOJ
21    lawyers, and discussed with Amy Gleason
22    on the topics.
23                I reviewed documents, the ones
24    in front of me, and did kind of live
25    practice over the last couple of weeks.


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                                                                              Page 8
 1         Q      Was there anybody that you
 2    interviewed, aside from Amy Gleason, to
 3    prepare?
 4         A      That I interviewed?
 5         Q      Well, you said you had a
 6    conversation with Amy Gleason?
 7         A      Yeah.
 8         Q      Was there anyone else that you
 9    had a conversation with to prepare for
10    the deposition?
11         A      No.
12         Q      All right.      Thanks.
13                So for our purposes, I'm
14    going to say DOGE.       And when I say
15    DOGE, unless I specify otherwise, what
16    I mean is both the US DOGE Service and
17    the US DOGE Service temporary
18    organization, collectively.
19                So maybe we can start there:
20    Could you explain the difference, as
21    you understand it, between the US DOGE
22    Service and the US DOGE Service
23    temporary organization?
24         A      Yes.    So the US DOGE Service
25    temporary organization was established in


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                                                                           Page 11
 1    well, and then also helps implement some
 2    of the additions to the DOGE agenda that
 3    have been since January 20th.
 4                 But again, both help in various
 5    ways.    I would not say those are
 6    exclusive.
 7         Q       Yeah, understood.
 8                 And are the employees of the
 9    two organizations distinct?
10         A       No, not exclusively.
11         Q       Are you saying that there are
12    employees who are employees of both
13    organizations?
14         A       Oh, I apologize, no.        No, well,
15    you're either an employee of one or an
16    employee of the other.
17         Q       You spoke about employees prior
18    to January 20th being primarily in the
19    permanent organization.
20                 Are there any such employees
21    who are employees of the temporary
22    organization?
23                 MR. HUMPHREYS:      Objection,
24         form.
25         A       Not according to my knowledge.


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                                                                           Page 12
 1         Q       To the best of your knowledge,
 2    there are not employees of the temporary
 3    organization who were employees of the US
 4    Digital Service prior to January 20th?
 5         A       According to the best of my
 6    knowledge, yes.
 7         Q       Are you familiar with the
 8    declaration that Amy Gleason provided in
 9    a different case on March 19th?
10         A       Yes, I am familiar.
11         Q       So in that declaration she said
12    there was no organizational chart for
13    DOGE, does that continue to be the case?
14         A       Correct, there's no formal
15    organizational chart.
16         Q       So I'm going to ask you just
17    some questions about how the organization
18    is structured, to understand how it's
19    laid out.
20                 Is Amy Gleason the
21    administrator of the US DOGE Service?
22         A       Amy Gleason's active
23    administrator of the US DOGE Service.
24         Q       And is her role as the acting
25    administrator for both organizations?


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                                                                            Page 13
 1         A       Yes, she's acting administrator
 2    for both organizations.
 3         Q       So she oversees both the
 4    software modernization projects that you
 5    described, the permanent organization
 6    being involved in, as well as overseeing
 7    the other aspects of the DOGE agenda work
 8    that the temporary organization primarily
 9    takes responsibility for?
10                 MR. HUMPHREYS:       Objection,
11         mischaracterizes testimony.
12         A       She has formal authority over
13    both organizations as the acting
14    administrator.
15         Q       Is it accurate that she has
16    been in that -- in the role of acting
17    DOGE administrator since around February
18    17th?
19         A       I believe she was appointed
20    acting administrator on February 18th.
21         Q       Okay.      And could you tell me,
22    could you lay out her responsibilities as
23    acting administrator?
24         A       Sure.      So she, like I said,
25    oversees, in a supervisor capacity, both


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 1    the temporary organization and the more
 2    permanent organization.
 3                 She is responsible for kind
 4    of the strategy and oversee, like, big
 5    decisionmaking as it pertains to the
 6    way that the organization implements
 7    the mission and the DOGE agenda.
 8                 And -- yeah, those would
 9    be -- and she oversees, like, the
10    different projects, different projects
11    that implement the President's DOGE
12    agenda.
13         Q       USDS DOGE was established in
14    its current form by executive order on
15    January 20th, 2025.
16                 The suit in this case was filed
17    on February 5th.
18                 Who exercised the authority of
19    acting administrator between February 5th
20    and February 18th?
21         A       Between February 5th and
22    February 18th, there was not a formal
23    acting administrator.         But, at the time,
24    Steve Davis was the senior-most political
25    advisor.     And so there were some


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                                                                           Page 15
 1    decisions such as, like, hiring
 2    decisions, for example, that he
 3    authorized and that Amy Gleason later
 4    ratified.
 5         Q       Is Steve Davis currently a
 6    member of the US DOGE Service or US DOGE
 7    Service temporary organization?
 8         A       Yes, he is an employee of the
 9    US DOGE Service.
10         Q       He's an employee of the
11    permanent organization?
12         A       He's an employee of the
13    temporary organization.
14         Q       And could you tell me his title
15    within the temporary organization?
16         A       Senior advisor.
17         Q       Would it be accurate to call
18    him, functionally, the chief operating
19    officer of DOGE?
20         A       Steve Davis is a senior
21    advisor, and he gives his advice
22    recommendations on how things should be
23    done.
24         Q       Could you share some of his
25    responsibilities in that role?


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 1         A       Yeah, so, I mean, as US DOGE
 2     Service is a consulting and advisory
 3     body, he does help implement that
 4     mission.
 5                 So he gives his expert input to
 6     the other USC employees, and some of the
 7     DOGE agency teams on how he might
 8     implement the President's DOGE agenda.
 9         Q       Does he report to Amy Gleason?
10         A       Yes, he reports to Amy Gleason.
11         Q       Are you aware of any orders or
12    directions that Amy Gleason has given to
13    Steve Davis in his role?
14                 MR. HUMPHREYS:      Objection,
15         that's outside of the scope.           I
16         instruct the witness not answer.
17                      (Instruction)
18                 MR. GEORGE:      Can we go off
19         the record for a minute?
20                 (Discussion held off the
21         record.)
22                 MR. GEORGE:      We can go back
23         on the record.
24   BY MR. GEORGE:
25         Q       We can start with a yes or no


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                                                                           Page 17
 1    answer:     Are you aware of directives that
 2    Amy Gleason has given to Steve Davis?
 3         A       I'm not privy to every
 4    communication that Steve and Amy have
 5    between one another.        But I do know that
 6    Steve reports to Amy and she has formal
 7    authority over him.
 8         Q       Are you aware of instances of
 9    Amy Gleason giving directives or orders
10    to Steve Davis?
11         A       I'm aware of conversations that
12    they have had, where Amy has maybe -- I'm
13    aware of conversations that they have had
14    with one another, where Amy, like, asks
15    Steve to do something and/or, like,
16    potentially even disagrees with something
17    that is going on and has communicated
18    with him.
19                 As far as I don't know exactly
20    what you mean by has ordered him to do
21    something, but I definitely know that
22    they communicate and, like, have back and
23    forth conversation.
24         Q       Does Amy Gleason review any of
25    Steve Davis's work product?


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 1     aware of that agenda and, ultimately,
 2     seeks to implement priorities that the
 3     President has given.
 4                 So -- and so when the DOGE
 5     agency team is consulting with him, and
 6     doing work that aligns with that, they
 7     have the ultimate decisionmaking
 8     authority to say yes or no to the work
 9     that is being done.
10         Q       Understood.
11                 I'm not trying to get at, in
12    this question, whether the agency has
13    final authority over the projects that we
14    described.
15         A       Mm-hmm.
16         Q       What I'm trying to understand
17    is, whether the projects that we
18    described are part of the DOGE agenda and
19    part of the core work of DOGE as an
20    entity.
21                 MR. HUMPHREYS:      Is there a
22         question posed?
23   BY MR. GEORGE:
24         Q       Is the work that Brad Smith has
25    described part of DOGE's core work in


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                                                                           Page 35
 1    carrying out its mission?
 2         A       The work we just described,
 3    that Brad Smith is doing, is part of his
 4    work at the DOGE agency team, which is
 5    part of the, like, umbrella of the DOGE
 6    mission, right, and the President's DOGE
 7    agenda.
 8                 US DOGE Service advises and
 9    consults.     And so in this case that
10    specific work would be his -- the work
11    that's being carried out by a DOGE
12    agency team, not work that's being
13    carried out by the US DOGE Service we
14    may have given advice or consulted
15    over those things, but --
16         Q       That's helpful.       Thank you for
17    bearing with me.
18         A       Yeah, you're welcome.
19         Q       Can you tell me about how DOGE
20    agencies -- if -- actually, let's start
21    here.
22                 Is there coordination that
23    takes place across DOGE agency teams?
24         A       Are you asking between agency
25    teams or between --


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 1         Q       Between agency teams.
 2         A       I'm speaking on behalf of US
 3    DOGE Service, so I'm -- I don't want to
 4    speak for things that only agencies may
 5    know.    I don't know if they coordinate
 6    with one another, but I do know that US
 7    DOGE Service coordinates with the
 8    different agency teams in implementing
 9    the DOGE agenda.
10         Q       Can you tell me if -- can you
11    tell me what US DOGE Service's
12    coordination of DOGE agency teams looks
13    like, what does that consist of?
14         A       Yeah, so US DOGE Service, like
15    I said, has a role in helping agency
16    teams understand the different priorities
17    within the agency or the President's DOGE
18    agenda and, like, different things that
19    they may want to focus on, so there could
20    be consultation around a lot of things.
21                 And so that coordination looks
22    different by agency and it looks
23    different by project, but very general
24    communication advice given.
25         Q       Is there somebody who manages


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 1    he, therefore, authorized the hires at
 2    that time.
 3         Q       Since February 18th, as the
 4    USDS temporary organization continued to
 5    hire new employees?
 6         A       Can you repeat the question?
 7         Q       Since February 18th or since
 8    Ms. Gleason took over as acting
 9    administrator --
10         A       Yes.
11         Q       -- has the temporary
12    organization continued to hire employees?
13         A       The hiring process has
14    continued, I do -- I am not aware of
15    anyone that has been hired into -- that
16    has been officially hired into the
17    temporary organization since February
18    18th.
19         Q       Are you aware of -- I think
20    Ms. Gleason mentioned in her declaration,
21    last month, that there are ten
22    individuals detailed to USDS from other
23    agencies.     Does that seem roughly correct
24    still?
25         A       Yes, that seems roughly


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 1    correct.
 2         Q       And in the responses that the
 3    agencies have provided, here, I think
 4    four of the individuals named as
 5    detailees to USDS, were Luke Farritor,
 6    Edward Coristine, Kyle Schutt, and Marko
 7    Elez; is that correct?
 8         A       I'm familiar with those, yes,
 9    and they're detailees, yes.
10         Q       They're detailees to USDS?
11         A       That's my understanding.
12         Q       Can you tell me the scope of
13    the detail Lee arrangement with USDS?
14         A       Can you clarify what you mean
15    by scope?
16         Q       What are they detailed to --
17    what -- what are their duties as
18    detailees to USDS?
19         A       Similar to employees of USDS,
20    they are to advise and consult on the
21    President's DOGE agenda.
22         Q       Were any of those individuals I
23    named previously hired into the DOGE
24    temporary organization?
25         A       I do not believe so.        I think


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 1    it's possible that Marko was a volunteer
 2    within the US DOGE Service organization,
 3    at the time, but I don't know that for
 4    certain.
 5         Q       So as far as you're aware -- I
 6    guess, let me ask this a different way.
 7                 Those four individuals are
 8    currently detailees to USDS?
 9         A       That is my understanding.
10         Q       Since January 20th, other than
11    potentially Mr. Elez being a volunteer --
12         A       Mm-hmm.
13         Q       -- have any of them had any
14    other formal employment relationship with
15    DOGE?
16         A       Not to my knowledge, no, just
17    as detailees.
18         Q       As detailees did they have
19    DOGE.EOP.gov e-mail addresses?
20         A       Yes, detailees receive DOGE
21    e-mail addresses.
22         Q       You said you are not aware -- I
23    may get this wrong, because this was a
24    little while ago, so please let me know
25    if I'm mischaracterizing it.


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 1         Q       Is there any training that is
 2     specific to DOGE?       I think it sounded
 3     like what you described is general
 4     on-boarding --
 5         A       Yes.
 6         Q       -- for the executive office of
 7     the President, is there anything that is
 8     DOGE-specific?
 9         A       There's not a uniform training
10    that is DOGE-specific.         I would assume
11    individual employees, you know, speak
12    with the people that they work with and
13    get up to speed, but there's no formal
14    training that I'm aware of.
15                 MR. GEORGE:      Could we get a
16         time check?
17   BY MR. GEORGE:
18         Q       DOGE -- and again, I'm speaking
19    about being the temporary organization,
20    specifically, here, sometimes sends
21    employees to federal agencies to help
22    them implement the DOGE agenda; am I
23    understanding that correctly?
24                 MR. HUMPHREYS:      Objection,
25         foundation.


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 1         A       US DOGE Service employees can
 2    be detailed or dual on-boarded as such,
 3    in the case of the defendant agencies
 4    here, to help implement the DOGE agenda,
 5    yes.
 6         Q       You said detailed or dual
 7    on-boarded, is there any other formal
 8    mechanism that is used to share out DOGE
 9    staff to agencies?
10         A       No other formal mechanisms,
11    that I'm aware of.
12         Q       In what situations does DOGE
13    detail versus dual employ an individual
14    at an agency?
15         A       Traditionally, USDS has
16    detailed and, upon the Court's order,
17    changed their practices, and I'm not to
18    comment on privileged information given
19    from legal counsel.
20                 MR. GEORGE:      Would you
21         consent to going off the record
22         for a minute?       I don't think
23         you'll want to go through --
24                 MR. HUMPHREYS:      Yes, we can
25         go off the record.


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 1                 (Recess.)
 2                 MR. GEORGE:      Okay.     All
 3         right.     Let's go back on the
 4         record.
 5   BY MR. GEORGE:
 6         Q       I wanted to go back briefly --
 7                 MR. HUMPHREYS:      May I stop
 8         you for just a second?         I'm sorry,
 9         the witness had something she
10         wanted to clarify, and I forgot.
11   BY MR. GEORGE:
12         Q       Sure.
13         A       At the very beginning you asked
14    who I had interviewed for the purposes of
15    the deposition, and I may have taken the
16    word "interview" a little bit too
17    seriously or too technically, so I wanted
18    to add that I also spoke with the White
19    House IT lead, just on general, like, IT
20    matters within EOP and kind of how our
21    computers and advices are handled, and
22    then also the former HRUS representative
23    of US DOGE Service on some personal
24    related questions, just wanted to add
25    that for the record.


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 1    agreements with the agencies, like,
 2    acknowledge that the employee also has an
 3    employment relationship with the USCS,
 4    and so may also perform duties as a USCS
 5    employee relating to CMS, but not, like,
 6    the -- there's still a delineation, I
 7    would say, between the work that's being
 8    done at CMS as an implementing body or as
 9    an implementing employee at CMS versus
10    being kind of a consulting function
11    within USCS.
12         Q       But does DOGE -- does a DOGE
13    employee have to have an assignment
14    agreement or an employment agreement with
15    an agency in order to give advice coming
16    from USDS?
17         A       No, they don't have to have an
18    employment agreement, in this case I
19    think it -- there is one, obviously,
20    because this person is taking on this
21    kind of dual employment relationship, but
22    that is not always the case.
23                 USCS inherently has an advise
24    and consult function whether they have a
25    dual employment relationship at an agency


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 1    or not.
 2                 And, yeah, there's like
 3    incomplete overlap, potentially, in the
 4    types of things you can do, but -- and I
 5    think that's fair and understood.
 6         Q       Is Steve Davis an employee of a
 7    federal agency outside of his employment
 8    relationship with DOGE?
 9         A       I believe that he is a detailee
10    to GSA in addition to being a USCS
11    employee.
12         Q       Is that the only other agency
13    you're aware of?
14         A       That is the only other agency
15    that I'm aware of.
16         Q       And it's a detail agreement,
17    not on employment agreement?
18         A       Yes, that's correct.
19         Q       It sounds like what you
20    described with the HHS agreement is that
21    an individual DOGE employee may wear
22    multiple hats when they're at an agency.
23    They might be an employee of the agency,
24    but they might also be there in their
25    capacity as a DOGE employee.


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 1                 They might undertake work as an
 2     agency employee, while also giving advice
 3     as a DOGE employee.       Does that sound
 4     correct to you?
 5                 MR. HUMPHREYS:      Objection,
 6         mischaracterizes testimony.
 7         A       How I understand it an employee
 8     doesn't wear both hats at the same time.
 9     When they're at an agency doing agency
10    work they're an HHS employee, in this
11    example, an HHS employee.          And at other
12    times, they're separately a USDS employee
13    and can function as such.
14         Q       But they might wear one hat or
15    the other in their interactions with an
16    agency?
17                 MR. HUMPHREYS:      Objection.
18                 Is that a question?
19   BY MR. GEORGE:
20         Q       Is that right?
21         A       Yes, there are employees who do
22    have two function, so that could relate
23    to the same agency, one at that agency
24    and one consulting with them.
25         Q       Are DOGE employees given any


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 1    training or guidance about how to
 2    communicate with agency officials whether
 3    they are acting with their agency hat on
 4    or their DOGE hat on?
 5                 MR. HUMPHREYS:      Objection to
 6         form.
 7         A       Well, every employee, in this
 8    case independent agencies, we have people
 9    that are dual on-boarded, so in this case
10    we're talking about dual on-boarded --
11    dual on-boards, they each have employment
12    agreements with each agency with which
13    they describe who they really -- or who
14    they are supervised by, so in some sense
15    I would say that they are like that
16    guidance, as far as who they technically
17    report to and, therefore, how they
18    probably should communicate with those
19    individuals and what their job
20    responsibilities are, so to that extent,
21    sure.
22         Q       Are you aware that some DOGE
23    employees and detailees are concurrently
24    working in some capacity at multiple
25    agencies at once?


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 1                 MR. HUMPHREYS:      As to -- you
 2         mean asking the responses that are
 3         already in the interrogatory
 4         response?
 5                 MR. GEORGE:      Yeah, so --
 6         where is my -- so on the note in
 7         the interrogatory responses, one
 8         of the questions was the number of
 9         federal agencies that the DOGE
10         employee is concurrently detailed
11         to or otherwise employed by, and
12         in the deposition notice in
13         examination topic three, we ask
14         about DOGE employees'
15         responsibilities at defendant
16         agency, DOGE, and any other
17         federal government entities to
18         which they have been detailed or
19         otherwise assigned.
20                 I think this is squarely
21         within the scope of the discovery
22         in this case.
23                 MR. HUMPHREYS:      Okay.     Thank
24         you.
25                 THE WITNESS:      Can you repeat


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 1         the question?
 2                 MR. GEORGE:        Yeah.
 3   BY MR. GEORGE:
 4         Q       Is there -- what's the highest
 5    number of agencies that a DOGE employee
 6    or detailee is concurrently employed at
 7    or detailed at, that you're aware of?
 8                 MR. HUMPHREYS:        Still object
 9         as to scope, but I will let her
10         answer it.         I think that's
11         different from responsibilities,
12         but if she knows then she may
13         answer it.
14         A       The most I have seen, including
15    detailees and employees of USCS, is
16    eight.
17                 But I will also add that that
18    is not the common number, I say -- would
19    say most people I see between one and --
20    one, two or three.
21         Q       Does DOGE provide any training
22    or guidance to employees on -- employees
23    or detailees on how to manage
24    responsibilities across multiple
25    agencies?


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 1         A       USCS gives some guidance on
 2    general data sharing policies and how to
 3    help them manage and comply according to
 4    various laws in place.
 5                 As far as their actual
 6    responsibilities I would say those are
 7    governed by their agency agreements that,
 8    you know, dual either their on-boarding
 9    employee agreements or their detail
10    agreements.
11         Q       Can you -- you mentioned data
12    sharing policies, could you tell me a
13    little bit about the data sharing
14    policies that DOGE gives employees
15    guidance about when they're employed at
16    multiple agencies?
17         A       At a high level, the
18    guidance -- the guidance helps employees
19    know what logs are applicable and
20    instructs them to comply by statute.              But
21    this is privileged legal information, so
22    I don't want to share more.
23         Q       Does DOGE give any guidance to
24    the receiving agencies about the
25    concurrent employment of DOGE employees


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 1         A       Same.
 2         Q       Are you familiar with the White
 3    House's executive order implementing the
 4    workforce optimization initiative?
 5         A       I'm familiar with it, yes.
 6         Q       Is that one of the documents in
 7    the binder?
 8         A       Yes.
 9         Q       Section 3B3 direct the DOGE
10    team lead at each agency to provide the
11    USDS administrator with a monthly hiring
12    report for the agency; do you see that?
13         A       Yes, I see that.
14         Q       Has a USC administrator been
15    receiving those reports?
16         A       I know she, as the acting
17    administrator, has definitely been
18    receiving reports from agencies.             I don't
19    see all of those reports, and I know
20    there's various executive orders that ask
21    for reports to be sent, so I don't know
22    exactly which reports have all been sent,
23    and the work is ongoing.
24         Q       Okay.      Turning to -- back to
25    DOGE employees who are working out of


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 1     agencies like Labor, HHS, CFPB, are those
 2     employees able to access sensitive
 3     systems within those agencies from
 4     outside the agency building?
 5         A        I -- it's my understanding
 6     they're able to access those systems from
 7     their agency laptops, if given access to
 8     do so on the basis that they need it for
 9     the work that they are performing.
10                 I believe oftentimes that's
11    at the agency.          But I guess I don't
12    know for sure that that can't happen
13    outside of the four walls of the
14    building if they're on their agency
15    laptop.
16         Q       Do you know whether they use
17    their agency laptop to access those
18    systems from outside those four walls?
19                 MR. HUMPHREYS:        Objection,
20         vague.
21   BY MR. GEORGE:
22         Q       You can answer.
23         A       I think that that has happened
24    on some occasion, but I would say the
25    general practice, from my knowledge, is


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 1    for them to be at the agency that they're
 2    working on the systems from that agency.
 3         Q       And when you say you think that
 4    has happened, to your knowledge, do you
 5    know the location where that access
 6    happened?
 7         A       Not specifically, there's --
 8    I'm sure there's been various locations
 9    that that's happened.
10         Q       Have DOGE teams at agencies
11    made any changes to information systems
12    at federal agency -- at the agencies to
13    facilitate offsite access by DOGE
14    employees?
15                 So some examples might include
16    installing remote access software, making
17    changes to system security software or
18    policies, or making changes to agency
19    firewalls?
20                 MR. HUMPHREYS:      Objection as
21         to form.
22         A       As I previously said, when
23    employees are at the agency they're under
24    the direction of their agency
25    supervision, so might be a better


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 1    fix eliminates tremendous fraud.
 2                 Are you aware of an effort
 3    to cross-reference information from
 4    these two agencies of the type that I
 5    was asking about before?
 6                 MR. HUMPHREYS:      Objection as
 7         to scope, but you can answer if
 8         you know.
 9         A       As I said before, I'm aware of
10    this generally occurring across -- or
11    DOGE teams implementing a President's
12    DOGE agenda, to my understanding, both of
13    these agencies it's referring to the
14    Small Business Administration and Social
15    Security Administration are out of the
16    scope of this case.
17                 So I was not aware of this --
18    not aware of the specific project on or
19    more details than I can read here.
20         Q       Understood.      So you weren't
21    aware of this specific project; is that
22    right?
23                 MR. HUMPHREYS:      Same
24         objection.
25         A       You asked if I'm aware of


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 1    cross-referencing --
 2         Q       Mm-hmm.
 3         A       -- in this case?
 4         Q       I was asking if you were aware
 5    of efforts to cross-reference information
 6    across databases from multiple agencies
 7    undertaken by DOGE?
 8                 MR. HUMPHREYS:      Objection as
 9         to scope.     You can answer.
10         A       Like I said, I'm not aware of
11    specific instances with the defendant
12    agencies.
13         Q       You're not aware with -- so
14    when you said you weren't aware you meant
15    with respect to the specific agencies who
16    are defendants in this case?
17         A       I will repeat, I am aware
18    generally that this is a mission and
19    purpose that DOGE teams generally are
20    working on, I'm not aware of a specific
21    instance.
22                 I now read this, and see that
23    there is, you know, could be an instance
24    here, but I don't know more information
25    than -- than that.


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                                                                         Page 117
 1         Q       Do DOGE employees or detailees
 2    ever use agency laptops at DOGE
 3    facilities?
 4                 MR. HUMPHREYS:      Objection,
 5         vague.
 6                 Are we talking about the
 7         defendant agencies or everywhere?
 8   BY MR. GEORGE:
 9         Q       Everywhere.
10                 MR. HUMPHREYS:      Then
11         objection as to scope.
12                 You can answer.
13         A       Yes, I believe, at times, there
14    are employees that, like, will use their
15    agency laptop, sometimes.
16                 Like I said, at the agency,
17    sometimes not at the agency, is the
18    common practice for employees to conduct
19    their agency work at their agency.
20                 But I'm aware of instances
21    where that may have occurred elsewhere.
22         Q       You're aware of specific
23    instances where that may have occurred
24    elsewhere?
25         A       Yeah, sure, so like, for


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 1    example, in the past, like, US Digital
 2    Service, they've always been detailed to
 3    different agencies and they use --
 4    they -- they'll often go on site, but
 5    oftentimes they want to be onsite or
 6    they'll be at Jackson Place and doing
 7    their work on their -- still on their
 8    agency devices and within the -- within
 9    the scope of their responsibilities
10    there.
11                 So in that case, sure.
12         Q       Do the DOGE employees ever use
13    DOGE laptops and cell phones when working
14    on site at defendant agencies?
15         A       Like I said, it's the practice
16    for the employees to use the assets that
17    they've been given for a certain agency
18    when they've been doing work at that
19    agency.
20                 If someone were to use their
21    USDS assets at another agency I would
22    assume that it would be for that work
23    exclusively for their USDS work.
24                 And, again, I can't comment on
25    anyone that's individual compliance but


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 1    that's the general practice is to use the
 2    agency that you're working on asset's,
 3    generally, at that location, you know,
 4    it -- it varies where people perform
 5    their work.
 6         Q       You made reference to, for
 7    example, historically US Digital Service
 8    employees have sometimes done work off --
 9    agency work off site at Jackson Place.
10                 Is that where the temporary
11    organization, also, is currently
12    headquartered and works?
13         A       So US DOGE Service currently
14    occupies a few different spaces, they
15    occupy Jackson Place, there's some
16    portion of US DOGE Service that are
17    remote employees and that are
18    transitioning to being in person at
19    different federal agencies buildings as
20    the return to office has been rolled out,
21    and then also we have location within the
22    EEOB.
23         Q       Does DOGE have any written
24    policies or guidance on sharing agency
25    data?


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 1                 Do you know of people who have
 2    applied for jobs through the online
 3    portal?
 4         A       Yes, I do.
 5         Q       Does DOGE have any written
 6    policies related to data sharing or
 7    concurrent employment?
 8                 MR. HUMPHREYS:      Objection,
 9         form.
10         A       As I have said, there is
11    guidance on data sharing but no -- and
12    then there are, like, technology
13    agreements that every EOP employee signs,
14    that talks vaguely about just, like,
15    presidential records after keeping all
16    the things that they have to do to comply
17    with that, and just consenting with their
18    data on their computer stays on their
19    computer, that sort of thing, but no
20    formal policies, I wouldn't say policy
21    that is USCS specific.
22         Q       The guidance about data
23    sharing, is that a written document?
24                 MR. HUMPHREYS:      I just
25         instructed the witness not to


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 1         answer to the extent it would
 2         reveal privileged communication.
 3                 You can answer that
 4         question.
 5         A       It is written, yes.
 6         Q       Are there requirements for DOGE
 7    teams at agencies to coordinate with DOGE
 8    with USCS and USC organization?
 9                 MR. HUMPHREYS:      Objection,
10         form.
11         A       To the extent that the
12    executive orders talk about the US DOGE
13    Service is helping DOGE agency teams
14    implement, but there are not -- well, the
15    EOs talk about some specific ways in
16    which the DOGE agency teams should
17    interact with USDS.
18                 I don't know exactly what you
19    mean by requirements, but DOGE, like,
20    USCS certainly coordinates with most, if
21    not all, the DOGE agency teams but in
22    varying capacities and volumes.
23         Q       Is there any division of labor
24    internally, within DOGE, for which DOGE
25    leaders take primary responsibility for


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                                                                         Page 125
 1    managing operations of the USDS and which
 2    leaders take primary responsibility for
 3    managing operations of the temporary
 4    organization?
 5         A       As I said, there is no formal
 6    org chart within USDS, outside of Amy
 7    Gleason being the acting administrator
 8    and her --
 9         Q       I think you said having
10    supervisory authority?
11         A       Having supervisor authority
12    over the temporary organization and the
13    permanent organization.
14         Q       In practice, is there any
15    division of labor between different
16    leaders spending more time on one side of
17    the house versus the other?
18                 MR. HUMPHREYS:      Objection to
19         form.
20         A       In practice, there are, like,
21    many USCS employees that help execute the
22    mission of USCS across the organization.
23                 I would say that there is no
24    formal division of labor, as you said.
25    And like I said in the very beginning,


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